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     8
     9                        UNITED STATES DISTRICT COURT

   10                       CENTRAL DISTRICT OF CALIFORNIA

   11
   12 IN RE: FORD MOTOR CO. DPS6               Case No. 2:18-ml-02814-AB-PVC
      POWERSHIFT TRANSMISSION
   13 PRODUCTS LIABILITY
                                               Assigned to: Judge Andre Birotte, Jr.
   14 LITIGATION                               Courtroom 7B
   15 THIS DOCUMENT RELATES TO:                KNIGHT LAW GROUP PLAINTIFFS’
   16                                          STATUS REPORT RE: FORD’S
       ALL KNIGHT LAW CASES                    PROPOSAL TO REPURCHASE ALL
   17                                          KNIGHT LAW GROUP PLAINTIFFS’
                                               VEHICLES
   18
                                               Date: September 15, 2021
   19                                          Time: 10:00 a.m.
   20                                          Courtroom: 7B

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            STATUS REPORT RE: FORD’S PROPOSAL TO REPURCHASE ALL KNIGHT LAW
                               GROUP PLAINTIFFS’ VEHICLES
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     1          Plaintiffs’ attorneys have reviewed and considered the suggestion by Ford to
     2 offer a buyback, without waiver of their right to pursue civil penalties, to each Knight
     3 Law client, which was offered publicly in the Ford’s Status Conference
     4 Statement. (Dkt No. 1151). In response, and in a genuine effort to reach resolution of
     5 all matters, particularly in light of the substantial efforts and expenditures to be
     6 incurred by this Court’s comments regarding the upcoming trial schedule for all
     7 remaining IDP cases, Knight Law countered with a settlement proposal to resolve all
     8 of the MDL matters that is consistent with the recent MDL settlement
     9 “framework.” Ford rejected this proposal without a counter-offer.1
   10           It appears then that Ford’s overture to offer buybacks is borne out of a strategic
   11 plan not offered out of altruistic intent, nor intended to resolve the approximately 170
   12 matters still pending. Plaintiffs would nevertheless be willing to accept the offer to
   13 repurchase their vehicles – assuming the parties agree on the amount of damages – if
   14 each of the following conditions are agreed to, which are intended to protect each
   15 plaintiff by eliminating any strategic use of Ford’s overture:
   16        1) Ford stipulates to exclude from trial any reference to the litigation payment,
   17           including but not limited to, any reference to or examination about the amount
   18           received or the conditions upon which it was received, or the current condition
   19           or possession status of the subject vehicle;
   20        2) Ford stipulates that the amount received by a plaintiff shall be excluded from
   21           evidence and shall not affect a jury’s determination of damages, other than to
   22           the extent that Ford may stipulate at trial to include the amount received as the
   23           damages on a verdict form (unless the amount is derived by compromised
   24           negotiations concerning the calculation of a repurchase);
   25
   26  Plaintiffs’ counsel notes that Ford’s counsel has indicated they are in the process of
         1

      reviewing the IDP cases and intend to make offers in those cases. The parties are also
   27 set to attend a Settlement Conference to discuss 30 Non-IDP cases with Judge Castillo
   28 on September 20 and 21.                    1
             STATUS REPORT RE: FORD’S PROPOSAL TO REPURCHASE ALL KNIGHT LAW
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     1    3) Ford shall not perform any inspections on the returned vehicles for litigation
     2        purposes nor introduce the lack of litigation inspection at trial;
     3    4) In the event Ford performs an inspection of the returned vehicles for non-
     4        litigation purposes, such inspection shall not be used by any of Ford’s experts
     5        as part of their respective opinions in any way;
     6    5) Ford stipulates to the use of the following jury instruction on Ford’s affirmative
     7        duty to promptly repurchase or replace a vehicle that qualifies for a repair:
     8        Plaintiff(s) has/have no obligation to make a request a repurchase or
     9        replacement of their vehicle. Instead, Ford Motor Company has an affirmative
   10         duty to promptly repurchase or replace a defective vehicle.;
   11     6) Ford shall waive any arguments that a plaintiff’s agreement to accept Ford’s
   12         interim proposal of a buyback operates as an election of remedies;
   13     7) Ford shall not file any motion for summary adjudication using the litigation
   14         payment as a basis for dismissing any claims or issues that plaintiffs have
   15         alleged;
   16     8) Ford shall not contend that there has been an accord and satisfaction of any
   17         claims alleged in a plaintiff’s action;
   18     9) Ford will not assert that a settlement or judgment that does not exceed the
   19         amount paid for the surrender of the vehicle undermines a plaintiff’s status as a
   20         prevailing party in the action;
   21     10) The agreement shall in no way affect or be taken as a waiver of a plaintiff’s right
   22         to continue to pursue their fraudulent inducement allegations.
   23         Ford is considering which, if any, of the above conditions may be acceptable.
   24
   25         The foregoing conditions were provided to Ford by email on August 17, 2021.
   26 Ford is considering which, if any, conditions it may agree to.
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           STATUS REPORT RE: FORD’S PROPOSAL TO REPURCHASE ALL KNIGHT LAW
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     1 DATED: August 27, 2021           Respectfully submitted,
                                        KNIGHT LAW GROUP, LLP
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     3
                                        By:     /s/ Roger Kirnos
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                                              Roger Kirnos
     5                                        Counsel for Knight Law Group Plaintiffs
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           STATUS REPORT RE: FORD’S PROPOSAL TO REPURCHASE ALL KNIGHT LAW
                              GROUP PLAINTIFFS’ VEHICLES
